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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2
     LAW OFFICES OF JAMES R. GREINER
 3   1024 IRON POINT ROAD
     FOLSOM, CALIFORNIA 95630
 4   TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
     E mail: jaygreiner@midtown.net
 6
     ATTORNEY FOR DEFENDANT
 7   VALERIY NIKITCHUK
 8

 9

10
                        IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )              No. 2:14-cr-00044
15                              )
     PLAINTIFF,                 )             STIPULATION BETWEEN THE PARTIES TO
16
                                )             CONTINUE THE STATUS CONFERENCE TO
17                   v.         )             THURSDAY, FEBRUARY 26, 2015 WITH
                                )             EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al.,)             TRIAL ACT AND PROPOSED ORDER
19
                                )
                                )
20   DEFENDANTS.                )
                                )
21   ___________________________)
22

23
           The parties to this litigation, the United States of America, represented by
24
     Assistant United States Attorney, Michele M. Beckwith, and for the defendants: 1-
25

26   Kresta N. Dally representing Aleksandr Kuzmenko.; 2- Michael L. Chastaine

27   representing Petr Kuzmenko.;
28

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 1   3- Steven B. Plesser representing Arsen Muhtarov; and 4- James R. Greiner
 2
     representing Valeriy Nikitchuk hereby agree and stipulate to the following1:
 3

 4                               1- By previous order, this matter was set for status on Thursday,

 5   September 25, 2014, see docket number 62.

 6
                                 2. By this Stipulation, the defendants collectively now move to
 7

 8   continue the status conference until Thursday, February 26, 2015 and to exclude time

 9   pursuant to the Speedy Trial Act between Thursday, September 25, 2014 and
10
     Thursday, February 26, 2015, under Local Codes T-2 (complexity due to the
11
     amount of discovery, number of defendants and potential legal issues) and T-4
12
     (time for adequate attorney preparation). The government has produced initial
13

14   discovery of more than approximately 15,000 pages in this case, including the latest
15   production of discovery on about June 16, 2014, consisting of an additional approximate
16
     275 pages of discovery and the government does not oppose this request. In addition,
17
     attorney James R. Greiner, was just appointed to this case on April 3, 2014 and
18

19   needs time to continue to review the facts and discovery and to continue investigation in

20   this case and to go over the discovery with his client. . (See docket entry number 42)
21
                                 3. The parties agree and stipulate to the following and request the
22
     Court to find the following:
23
                                 a. The government has produced initial discovery to date which
24

25   consists of approximately over 15,000 pages, including the latest production of

26
                1
                    The government requested that the format presented in this stipulation be used by the
27
     parties.
28

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 1   discovery on about June 16, 2014, consisting of an additional approximate 275 pages of
 2
     discovery.
 3
                          b. Counsel for all defendants need additional time to continue to
 4

 5
     review all the discovery with their respective clients, to continue investigation into this

 6   case, continue to do research, which includes legal research, in this case, and to
 7   otherwise continue to do review and investigation, using due diligence, that this complex
 8
     case requires.
 9
                          d. Counsel for all defendants represents that the failure to grant the
10

11   above requested continuance would deny counsel for each individual defendant the

12   reasonable time necessary for effective preparation, taking into account the exercise of
13
     due diligence.
14
                          e. Petr Kuzmenko has a Federal Trial in this district scheduled for
15
     January 12, 2015 in case CR-S-11-210—JAM, which is a multi-defendant case, with six
16

17   defendants scheduled for trial.
18                        f. The government, based on all of the above, does not object to the
19
     continuance.
20
                          g. Based on the above stated findings, the ends of justice served by
21

22   continuing the case as requested outweigh the interest of the public and all the

23   defendants in a trial within the original date prescribed by the Speedy Trial Act.
24
                          h. For the purpose of computing the time under the Speedy Trial
25
     Act, Title 18 U.S.C. section 3161, et seq., within which trial must commence, the time
26
     period from Thursday, September 25, 2014 to Thursday, February 26, 2015,
27

28   inclusive, is deemed excludable pursuant to Title 18 U.S.C. 3161(h)(7)(B)(ii) which

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 1   corresponds to Local Code T-2 and Title 18 U.S.C. section 3161(h)(7)(B)(iv)
 2
     corresponding to Local Code T-4, because it results from a continuance granted by the
 3
     Court at defendants’ request on the basis of the Court’s finding that both, the case is
 4

 5
     complex due to the amount of discovery and number of defendants and potential legal

 6   issues in the case and that the ends of justice served by taking such action outweigh
 7   the best interest of the public and all of the defendants in a speedy trial.
 8
            4. Nothing in this stipulation and order shall preclude a finding that other
 9
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
10

11   from the period within which a trial must commence.

12                        IT IS SO STIPULATED.
13
                          Each attorney has granted James R. Greiner full authority to sign
14
     for each individual attorney.
15
            Respectfully submitted:
16

17                               BENJAMIN B. WAGNER
                                 UNITED STATES ATTORNEY
18

19
     DATED: 9-18-14              /s/ Michele M. Beckwith
                                 _____________________________________
20                               Michele M. Beckwith
                                 ASSISTANT UNITED STATES ATTORNEY
21                               ATTORNEY FOR THE PLAINTIFF
22

23   DATED: 9-18-14
                                 /s/ Kresta N. Dally
24
                                 ___________________________________
25                               Kresta N. Dally
                                 Attorney for Defendant
26                               1- Aleksandr Kuzmenko
27

28

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 1   DATED: 9-18-14         /s/ Michael L. Chastaine
                            __________________________________
 2
                            Michael L. Chastaine
 3                          Attorney for Defendant
                            2- Petr Kuzmenko
 4

 5
     DATED: 9-18-14         /s/ Steve B. Plesser
                            __________________________________
 6                          Steve B. Plesser
                            Attorney for Defendant
 7                          3- Petr Kuzmenko
 8

 9   DATED: 9-18-14         /s/ James R. Greiner
                            ________________________________
10
                            James R. Greiner
11                          Attorney for Defendant
                            4- Valeriy Nikitchu
12

13

14                                     ORDER

15          IT IS SO FOUND AND ORDERED.
16
     Dated: September 24, 2014
17

18

19

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21

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